Case 17-51537-bem             Doc 16     Filed 02/21/17 Entered 02/21/17 12:00:43                     Desc Main
                                         Document Page 1 of 1
                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


                                                      )
   In re                                              )     Chapter 13
                                                      )
   ADRIAN STAFFORD VERWAYNE,                          )     Case No. 17-51537-bem
   Debtor(s)                                          )
                                                      )     BANKRUPTCY JUDGE
                                                      )     BARBARA ELLIS-MONRO




                     REQUEST OF PRA RECEIVABLES MANAGEMENT, LLC
               FOR SERVICE OF NOTICES PURSUANT TO FED. R. BANKR. P. 2002(g)

   PLEASE TAKE NOTICE that PRA Receivables Management, LLC, as authorized agent for Synchrony

   Bank (Chevron and Texaco Credit [Last four digit of account:9288]), a creditor in the above-captioned

   chapter 13 case, requests, pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure

   (the Bankruptcy Rules) and sections 102(1), 342 and 1109(b) of title 11 of the United States Code, 11

   U.S.C. §§ 101, et seq. (as amended, the Bankruptcy Code), that all notices given or required to be given

   and all papers served or required to be served in this case be also given to and served, whether

   electronically or otherwise, on:
               Synchrony Bank
               c/o PRA Receivables Management, LLC
               PO Box 41021
               Norfolk, VA 23541
               Telephone: (877) 829-8298
               Facsimile: (757) 351-3257
               E-mail: claims@recoverycorp.com


   Dated: Norfolk, Virginia
   February 21, 2017
                                                          By: /s/ Valerie Smith
                                                          Valerie Smith
                                                          c/o PRA Receivables Management, LLC
                                                          Senior Manager
                                                          PO Box 41021
                                                          Norfolk, VA 23541
                                                          (877) 829-8298

   Assignee Creditor: Chevron and Texaco Credit [Last four digit of account:9288]
